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                                                              August 22, 2018

    Honorable Vera M. Scanlon
    United States District Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, New York 11201

          Re:    Amadei, et. al., v. Nielsen, et al., No. 17 Civ. 5967

    Dear Judge Scanlon:

           We represent Plaintiffs in the above-referenced matter and write jointly on behalf
    of the parties to seek clarification of the Scheduling Order issued by the Court following
    the August 15, 2018, status conference (ECF No. 48).

           The Court’s May 1, 2018, scheduling order (ECF No. 37) set a status conference
    on September 6, 2018, and an October 1, 2018, deadline for designating expert
    witnesses. The August 15, 2018, scheduling order extends discovery from October 31,
    2018, to January 4, 2019, and set a new status conference for November 19, 2018, but
    did not adjourn the September 6 status conference or extend the deadline to designate
    expert witnesses.

           The parties respectfully request that the Court adjourn the September 6, 2018,
    status conference and modify the date by which the parties must disclose any expert
    witnesses from October 1, 2018, to December 3, 2018. This is the first request for an
    adjournment of these dates and does not affect any other deadlines in the August 15
    Order.

                                                    Respectfully submitted,
                                                    s/ Joshua B. Picker
                                                    Joshua B. Picker


    cc:   All counsel (by ECF)
